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 5                                                  7/29/2022
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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                              June 2022 Grand Jury

11   UNITED STATES OF AMERICA,               CR   2:22-cr-00348-MCS

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [21 U.S.C. §§ 841(a)(1),
                                             (b)(1)(B)(viii): Distribution of
14   TIMOTHY JAYMES WOOD,                    Methamphetamine; 21 U.S.C. § 853,
                                             28 U.S.C. § 2461(c): Criminal
15             Defendant.                    Forfeiture]
16

17        The Grand Jury charges:
18                  [21 U.S.C. §§ 841(a)(1), (b)(1)(B)(viii)]
19        On or about June 21, 2022, in Los Angeles County, within the
20   Central District of California, defendant TIMOTHY JAMES WOOD
21   knowingly and intentionally distributed at least five grams, that is,
22   approximately 12.5 grams, of methamphetamine, a Schedule II
23   controlled substance.
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 1                              FORFEITURE ALLEGATION

 2                    [21 U.S.C. § 853; 28 U.S.C. § 2461(c)]

 3         1.   Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 21,

 6   United States Code, Section 853, and Title 28, United States Code,

 7   Section 2461(c), in the event of defendant’s conviction of the

 8   offense set forth in this Indictment.

 9         2.   Defendant, if so convicted, shall forfeit to the United

10   States of America the following:

11              (a) All right, title and interest in any and all property,

12   real or personal, constituting or derived from, any proceeds which

13   defendant obtained, directly or indirectly, from such offense;

14              (b) All right, title and interest in any and all property,

15   real or personal, used, or intended to be used, in any manner or

16   part, to commit, or to facilitate the commission of such offense;

17   and

18              (c) To the extent such property is not available for

19   forfeiture, a sum of money equal to the total value of the property

20   described in subparagraphs (a) and (b).

21         3.   Pursuant to Title 21, United States Code, Section 853(p),

22   and as incorporated by Title 28, United States Code, Section 2461(c),

23   defendant, if so convicted, shall forfeit substitute property if, by

24   any act or omission of the defendant, the property described in the

25   preceding paragraph, or any portion thereof: (a) cannot be located

26   upon the exercise of due diligence; (b) has been transferred, sold

27   to, or deposited with a third party; (c) has been placed beyond the

28   jurisdiction of the court; (d) has been substantially diminished in

                                            2
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 1   value; or (e) has been commingled with other property that cannot be

 2   divided without difficulty.

 3                                              A TRUE BILL
 4

 5                                                     /S/
 6                                              Foreperson

 7
     STEPHANIE S. CHRISTENSEN
 8   Acting United States Attorney

 9

10
     SCOTT M. GARRINGER
11   Assistant United States Attorney
     Chief, Criminal Division
12
     DAVID T. RYAN
13   Assistant United States Attorney
     Deputy Chief, General Crimes
14   Section
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     ELIA HERRERA
16   Assistant United States Attorney
     General Crimes Section
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